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                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION




Hsin Chi Su, et al.
                                        Plaintiff,
v.                                                                    Case No.: 4:14−cv−02164
                                                                      Judge Lynn N. Hughes
Bank Sinopac, et al.
                                        Defendant.



                                          Official Transcript Filed

An official transcript has been filed. It may contain information protected from public disclosure by law.
See E−Government Act of 2002, Fed. R. Civ. P. 5.2(a) or Fed. R. Crim. P. 49.1(a).

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                                             David J. Bradley, Clerk
